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                                                                       Laura Davis Jones (DE Bar No. 2436) (admitted pro hac vice)
                                                                   1   Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                       Victoria A. Newmark (CA Bar No. 183581)
                                                                   2   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   3   Los Angeles, CA 90067
                                                                       Telephone: 310/277-6910
                                                                   4   Facsimile: 310/201-0760
                                                                       E-mail:    ljones@pszjlaw.com
                                                                   5              jdulberg@pszjlaw.com
                                                                                  vnewmark@pszjlaw.com
                                                                   6
                                                                       Attorneys for Channel Technologies Group, LLC, Debtor and Debtor in Possession
                                                                   7

                                                                   8                                  UNITED STATES BANKRUPTCY COURT
                                                                   9                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                  10                                              NORTHERN DIVISION
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                       In re:                                                    Case No.: 9:16-bk-11912-PC
                                                                  12
                                                                       In re:
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                                  Chapter 11
                                                                           CHANNEL TECHNOLOGIES GROUP, LLC,
                                                                  14       1
                                                                                                                                    SUBMISSION OF SCHEDULES OF
                                                                                                                                    ASSETS AND LIABILITIES
                                                                  15                                        Debtor.
                                                                                                                                    [No Hearing Required]
                                                                  16

                                                                  17
                                                                                Channel Technologies Group, LLC, debtor and debtor in possession herein, hereby submits
                                                                  18
                                                                       its Schedules of Assets and Liabilities.
                                                                  19

                                                                  20   Dated:     November 16, 2016                    PACHULSKI STANG ZIEHL & JONES LLP
                                                                  21

                                                                  22                                                   By:          /s/ Jeffrey W. Dulberg
                                                                                                                                    Jeffrey W. Dulberg
                                                                  23
                                                                                                                                    Attorneys for Debtor and Debtor in
                                                                  24                                                                Possession
                                                                  25

                                                                  26

                                                                  27
                                                                       1
                                                                  28    The last four digits of the Debtor’s Tax Identification Number are: 0460. The Debtor’s mailing address is: 879 Ward
                                                                       Drive, Santa Barbara, CA 93111.


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                  GENERAL NOTES TO SCHEDULES OF ASSETS AND
              LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS FOR
                       CHANNEL TECHNOLOGIES, GROUP, LLC

        Channel Technologies Group, LLC. (the “Debtor”), submits its Schedules of Assets and
Liabilities (the “Schedules”) and Statement of Financial Affairs (the “Statement”) pursuant to
section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and Federal Rule of
Bankruptcy Procedure 1007.

        The Schedules and the Statement have been prepared by the Debtor’s current
management with the assistance of certain of its professionals and are unaudited. While
management of the Debtor has endeavored to ensure that the Schedules and Statement are
accurate and complete based on information that was available at the time of preparation, the
subsequent receipt of information may result in changes in data contained in the Schedules and
Statement that would warrant amendment of same. For instance, the Debtor has endeavored to
allocate liabilities between the prepetition and postpetition periods. Additional information may
become available that would cause the allocation of liabilities between prepetition and
postpetition periods to change. If this occurs, the Debtor will make appropriate amendments to
the Schedules and the Statement. Additionally, while the Debtor has endeavored to file complete
and accurate Schedules and Statement, inadvertent errors or omissions may exist. Accordingly,
the Debtor reserves the right to amend its Schedules and Statement as necessary or appropriate.

       Unless otherwise stated, the asset and liability data contained in the Schedules and
Statement are reflected at net book value as of October 14, 2016, the date the Order for Relief
was entered in this chapter 11 case (the “Petition Date”). Actual fair market values may differ
materially from book values.

        It would be prohibitively expensive, unduly burdensome and extremely time-consuming
to obtain current market valuations of the Debtor’s assets. Accordingly, in certain instances,
values are stated as unknown and in other instances, net book values rather than current market
values are reflected on the Statement and Schedules. Assets that have been fully depreciated or
expensed for accounting purposes have no net book value. The current book values may not
reflect a comprehensive review of accounting adjustments, including asset impairments and
write-downs, which may be required and conducted in relation to the Debtor’s bankruptcy. The
reader therefore should not place undue reliance upon the book values associated with the assets
listed.

        Any failure to designate a claim listed on the Debtor’s Schedules as “disputed,”
“contingent” or “unliquidated” does not constitute an admission by the Debtor that such amount
is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to subsequently
designate any claim as “disputed,” “contingent” or “unliquidated.” The Debtor further reserves
the rights to dispute, object to, assert counterclaims, rights of setoff, rights of recoupment, or
defenses to, subordinate, avoid, and/or obtain reclassification of any claim or any interest in
property securing such claim.




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      The dollar amounts of claims listed may be exclusive of contingent and unliquidated
amounts.

       The claims of creditors for, among other things, merchandise, goods, services, or taxes
may be listed at the lower of the amounts invoiced by such creditor or the amounts entered on the
Debtor’s books and records and may not reflect credits or allowances due from such creditors to
the Debtor. The Debtor reserves all of its rights with respect to any such credits and allowances.

        The claims that are listed on Schedules E and F may not reflect the application of any
payments made in respect of such claims following the Petition Date, pursuant to the Court’s
orders.

         The identity of some of the holders of claims might have changed over time due to
trading and/or transfer of certain of these claims. It is the Debtor’s belief that the claims against
the Debtor were as of the Petition Date held by the entities identified in these Schedules (or
affiliates of such entities or beneficial holders for which such entities are nominees or asset
managers), in the principal amounts set forth herein, without inclusion of accrued and unpaid
interest (unless expressly noted that interest is included).

        There may be instances where certain information was left blank or redacted due to the
nature of an agreement between a Debtor and a third party, concerns about national security, the
confidential or commercially sensitive nature of certain information, or concerns for the privacy
of an individual. Current and former employee addresses have been removed from entries listed
in the Schedules, where applicable. The Debtor has also redacted or left blank the addresses of
certain customers in Schedules F and/or G for national security reasons and/or due to the
confidential nature of the Debtor’s relationships with these customers. The omissions or
redactions will be limited to only what is necessary to protect the Debtor or a third party and will
provide interested parties with sufficient information to discern the nature of the listing.

       Each Schedule and the Statement is subject to further amendment by the Debtor. The
descriptions provided are intended only to be a summary.




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                               SCHEDULE A/B DISCLAIMER

        Unless otherwise noted, the amounts listed on Schedule B represent the value of the
Debtor’s assets as reflected in the Debtor’s books and records as of the Petition Date. The
Debtor has performed no independent review of the value of these assets. The actual value of the
assets listed may differ significantly from the amounts reflected in the Debtor’s books and
records. The Debtor has also listed certain equipment, finished goods, inventory, work-in-
process inventory, documents and/or surplus, obsolete, non-core, or burdensome assets on
Schedule B. To the extent that certain customers assert ownership or similar rights with respect
to the assets presently in the Debtor’s possession, the Debtor reserves all rights with respect to
those assets.




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                         GENERAL NOTES REGARDING SCHEDULE D

        Subject to the terms of any cash collateral order, the Debtor reserves the right to dispute
or challenge the validity of any lien purported to be granted and/or perfected by a secured
creditor listed on this Schedule D. The Debtor reserves the right to dispute or challenge the
validity, perfection, or immunity from avoidance of any lien purported to be granted or perfected
in any specific asset to a secured creditor listed on Schedule D. Moreover, although the Debtor
has scheduled secured claims on its Schedule D, the Debtor reserves all rights to dispute or
challenge any secured nature of any creditors’ claim or the characterization of the structure of
any such transaction, or any document or instruments related to such creditor’s claim.

        The Debtor’s failure to designate a claim on this Schedule D as “contingent,”
“unliquidated” or “disputed” does not constitute an admission by the Debtor that such claim is
not contingent, unliquidated, or disputed, and the Debtor reserves the right to dispute, or to assert
offsets or defenses to, any claims reflected on this Schedule D as to amount, liability,
classification or otherwise and to subsequently designate any such claim as disputed, contingent
or unliquidated.

        Lessors, utility companies and other parties, which may hold security deposits, have not
been listed on Schedule D.

        Schedule D is subject to further amendment by the Debtor. The description provided is
intended only to be a summary. Reference to the applicable credit agreement and related
documents is necessary for a complete description of the collateral and the nature, extent, and
priority of any liens. Nothing herein shall be deemed a modification or interpretation of the
terms of such agreements




        .




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                 GENERAL NOTES REGARDING SCHEDULE E/F (PART 1)

       Holders of certain priority tax claims may have statutory liens on property of the Debtor
that may give rise to a secured claim and/or a deficiency claim (depending on the value of the
property); such claims are listed on Schedule E and not on Schedule D. The Debtor makes no
admission regarding the secured status or priority of any such claims. The Debtor’s
characterization of the taxing authority claims listed in Schedule E as priority claims is
preliminary in nature and the Debtor reserves its rights to amend Schedule E, and/or dispute and
challenge whether, and to what extent, such claims are entitled to priority.

       The claims listed on Schedule E do not include any administrative priority claims arising
under section 503(b)(9) of the Bankruptcy Code and any claims that might be section 503(b)(9)
administrative expense priority claims are identified on Schedule F.

        The claims of the Debtor’s employees listed on Schedule E have been satisfied or
partially satisfied pursuant to the Order Approving Emergency Motion for an Order Authorizing
The Debtor To (i) Pay and/or Honor Prepetition Wages, Salaries, Employee Benefits, and Other
Compensation; (ii) Remit Withholding Obligations; (iii) Maintain Employee Compensation and
Benefits Programs and Pay Related Administrative Obligations; And (Iv) Have Applicable Banks
And Other Financial Institutions Receive, Process, Honor, and Pay Certain Checks Presented
for Payment and Honor Certain Fund Transfer Requests [Docket No. 61] entered by the Court
on October 20, 2016.

       Current and former employee addresses have been removed from entries listed for
privacy purposes.

        Additionally, the Debtor’s characterization of the taxing authority claims listed in
Schedule E as priority claims is preliminary in nature and the Debtor reserves its rights to amend
Schedule E, and/or dispute and challenge whether, and to what extent, such claims are entitled to
priority.




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                 GENERAL NOTES REGARDING SCHEDULE E/F (PART 2)

       The amounts stated in Schedule F for the claims of any parties to contracts with the
Debtor do not include any claims for breach of contract or other damages; the stated amount is
the amount of the account payable owing to the contract party as of the Petition Date in the
Debtor’s books and records.

       The claims listed in Schedule F arose or were incurred on various dates. A determination
of each date upon which each claim in Schedule F was incurred or arose may be costly and
unduly burdensome and, therefore, such dates are not listed.

        The Debtor has also redacted or left blank the addresses of certain customers in Schedule
F for national security reasons and/or due to the confidential nature of the Debtor’s relationships
with these customers. The omissions or redactions will be limited to only what is necessary to
protect the Debtor or a third party and will provide interested parties with sufficient information
to discern the nature of the listing.

     The claims listed on Schedule F are subject to further review, reconciliation and
amendment by the Debtor.

       For certain trade vendor claims, all or a portion of the claim amounts listed on Schedule F
might be an administrative expense priority claim in accordance with section 503(b)(9) of the
Bankruptcy Code. The Debtor’s calculations of the section 503(b)(9) claims are shown on
Schedule F.




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                             GENERAL NOTES REGARDING SCHEDULE G

        While effort has been made to ensure the accuracy of the Schedule of Executory
Contracts and Unexpired Leases, inadvertent errors or omissions may have occurred. The
Debtor does not make, and specifically disclaims, any representation or warranty as to the
completeness or accuracy of the information set forth herein, or the validity or enforceability of
any such contracts, agreements or documents listed herein. The Debtor hereby reserves the right
to dispute the validity, status, characterization or enforceability of any such contracts,
agreements or leases set forth herein and to amend or supplement this Schedule. By listing a
contract or lease on Schedule G, the Debtor is not admitting that such contract or lease is an
executory contract or lease pursuant to section 365 of the Bankruptcy Code and reserves the right
to dispute any such classification.

        The Debtor has also redacted or left blank the addresses of certain customers in Schedule
G for national security reasons and/or due to the confidential nature of the Debtor’s relationships
with these customers. The omissions or redactions will be limited to only what is necessary to
protect the Debtor or a third party and will provide interested parties with sufficient information
to discern the nature of the listing.

        Certain of the contracts, agreements and leases listed on Schedule G may have expired or
may have been modified, amended and supplemented from time to time by various amendments,
restatements, waivers, estoppel certificates, letters and other documents, instruments and
agreements which may not be listed herein. Certain of the executory agreements may not have
been memorialized and could be subject to dispute. Schedule G does not include all equipment
and inventory purchase orders.

        Certain of the real property leases listed on this Schedule G may contain renewal options,
guarantees of payment, options to purchase, rights of first refusal, rights to lease additional space
and other miscellaneous rights. Such rights, powers, duties and obligations are not set forth on
this Schedule G. Certain of the executory agreements may not have been memorialized and
could be subject to dispute. Schedule G does not include all equipment and inventory purchase
orders. Additionally, the Debtor may be a party to various other agreements concerning real
property, such as easements, rights of way, subordination, non-disturbance and attornment
agreements, supplemental agreements, amendments/letter agreements, title documents, consents,
site plans, maps and other miscellaneous agreements. Such agreements are not set forth on this
Schedule G.

       Certain of the agreements listed on Schedule G may be in the nature of conditional sales
agreements or secured financings. The presence of these agreements or any other agreements on
Schedule G does not constitute an admission that any such agreement is an executory contract or
unexpired lease.




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 Fill in this information to identify the case:

 Debtor name         Channel Technologies Group, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         9:16-bk-11912-PC
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                              $1,108.79



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     CIT Bank                                                Checking (Operating)            0581                                  $192,593.31



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                   $193,702.10
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     FFD Trust - MSI Rent Deposit                                                                                                    $11,163.94




           7.2.     Chris Holmes (ex CEO) - Apartment Deposit                                                                                          $500.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           Channel Technologies Group, LLC                                                     Case number (If known) 9:16-bk-11912-PC
                  Name




           7.3.     Various unidentified Deposits from 2013                                                                                        $5,835.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     See Attached Schedule A/B: Part 2, Question 8                                                                               $987,811.58




 9.        Total of Part 2.                                                                                                               $1,005,310.52
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                         2,755,123.54        -                                   0.00 = ....              $2,755,123.54
                                              face amount                               doubtful or uncollectible accounts




           11b. Over 90 days old:                                    14,055.73   -                             1,756.66 =....                    $12,299.07
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                               $2,767,422.61
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last               Net book value of         Valuation method used   Current value of
                                                      physical inventory             debtor's interest         for current value       debtor's interest
                                                                                     (Where available)

 19.       Raw materials
           Raw Material - Ceramics                    1/1/2016                              $284,836.39        Actual                           $284,836.39


           Raw Material -
           Transducers                                1/1/2016                            $1,711,778.54        Actual                         $1,711,778.54




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                          page 2
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 Debtor         Channel Technologies Group, LLC                                               Case number (If known) 9:16-bk-11912-PC
                Name

 20.       Work in progress
           Work In Process -
           Ceramics                                   1/1/2016                     $1,459,847.83     Actual                          $1,459,847.83


           Work In Process -
           Transducers                                1/1/2016                     $1,687,885.56     Actual                          $1,687,885.56


           WIP Acct Job -
           Transducers                                1/1/2016                     $2,217,729.74     Actual                          $2,217,729.74


           WIP Acct Job - MSI
           Massachusetts                              1/1/2016                       $502,225.31     Actual                             $502,225.31



 21.       Finished goods, including goods held for resale
           Finished Goods -
           Ceramics                                   1/1/2016                       $938,199.88     Actual                             $938,199.88


           Finished Goods -
           Transducers                                1/1/2016                       $119,660.89     Actual                             $119,660.89



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                      $8,922,164.14
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                $67,788.44 Valuation method       Actual             Current Value                   $67,788.44

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 Debtor         Channel Technologies Group, LLC                                               Case number (If known) 9:16-bk-11912-PC
                Name

           Furniture and Fixtures                                                       $8,752.73    Book Value                           $8,752.73



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers & Equipment in Santa Barbara, CA                                $133,589.76     Book Value                         $133,589.76


           Computers & Equipment in Littleton, MA                                     $42,394.63     Book Value                          $42,394.63



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $184,737.12
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Automobile                                                       $11,904.00     Book Value                          $11,904.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machinery and Equipment                                                 $2,336,563.65     Book Value                      $2,336,563.65



 51.       Total of Part 8.                                                                                                      $2,348,467.65
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         Channel Technologies Group, LLC                                               Case number (If known) 9:16-bk-11912-PC
                Name


               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used   Current value of
           property                                       extent of           debtor's interest       for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. The Debtor leases a
                     commercial building
                     comprising 19,635
                     square feet for the
                     purpose of sales,
                     manufacturing, office
                     and research and
                     development space
                     located at 543 Great
                     Road, Littleton, MA                  Leasehold
                     01460                                interest                     Unknown                                             Unknown


           55.2.     The Debtor leases
                     three commercial
                     buildings comprising
                     a total of
                     approximately
                     126,293 square feet
                     of space for general
                     office, research and
                     development,
                     manufacturing and
                     assembly located at
                     839, 859,/861 and
                     869/879 Ward Drive,
                     Santa Barbara, CA                    Leasehold
                     93111                                interest                     Unknown                                             Unknown




 56.       Total of Part 9.                                                                                                                   $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 5
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            Case 9:16-bk-11912-DS                            Doc 113 Filed 11/16/16 Entered 11/16/16 16:19:28                       Desc
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 Debtor         Channel Technologies Group, LLC                                              Case number (If known) 9:16-bk-11912-PC
                Name


               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            Ralph L. Phillips vs. Piezo Investment Holdings, LLC -
            16CV03968                                                                                                                    Unknown
            Nature of claim           Defendant witholding
                                      paymented owed to Plantiff
            Amount requested                     $2,690,800.00


            BW Piezo Holdings, Piezo Investment Holdings,
            Channel Technologies Group vs Ralph L. Philips - N16C
            08 214 RRC                                                                                                                   Unknown
            Nature of claim        Breach of Promisory Note
            Amount requested                    $128,173.00



 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                               $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
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 Debtor          Channel Technologies Group, LLC                                                                     Case number (If known) 9:16-bk-11912-PC
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 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $193,702.10

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $1,005,310.52

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,767,422.61

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $8,922,164.14

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $184,737.12

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,348,467.65

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $15,421,804.14             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $15,421,804.14




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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                                     In re Channel
                                    Main           Technologies
                                            Document       PageGroup,
                                                                16 ofLLC
                                                                      38
                                           Case No. 9:16−bk−11912−PC
                                         Schedule A/B: Part 2, Question 8
                                                                                  Current Value of Debtor's
     Name of Holder of the Prepayment             Description of the Prepayment           Interest
Alta Properties (Santa Barbara)           17 days of Rent for October                           $69,302.15
Baghouse                                                                                            $10.15
CR3 Partners                              Retainer                                              $60,000.00
Department of the Navy                    Testing on program                                   $300,940.00
Fedex                                     Maintain account open                                 $28,000.00
FFD trus (Mass Rent)                      17 days of Rent for October                            $9,339.52
Goengineer                                Maintain account open                                  $3,322.73
Henkel Corporation                        Material                                               $1,261.92
HUB International                         Gen liability Insurance                               $79,951.52
Lawerence E Price                         Services                                              $11,350.00
Mathworks                                 One year subsciption                                   $6,747.96
Mel Chemicals                             Material                                              $23,886.00
Meridian                                  Material                                              $98,908.00
Minitab                                   One year subsciption                                   $3,225.00
Mitech                                    Material                                              $14,896.00
Novacoast                                 One year subsciption                                   $3,824.63
Pachulski Stang Ziehl & Jones LLP         Retainer                                             $150,000.00
Pinoli's                                  Services                                               $4,305.00
Plex (ERP)                                3 Month fee                                           $35,616.50
PPG                                       Material                                               $2,487.19
Prime Clerk                               Retainer                                              $20,000.00
R&D Abbot                                 Material                                                 $373.03
Santa Barbara County                      Prepaid Personal Property Tax                         $55,395.28
Sino Ceramics                             Material                                               $2,626.00
Teledyne Impulse                          Material                                               $2,043.00
                                   Total:                                                       $987,811.58




                                                      1 of 1
           Case 9:16-bk-11912-DS                              Doc 113 Filed 11/16/16 Entered 11/16/16 16:19:28                                         Desc
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 Fill in this information to identify the case:

 Debtor name         Channel Technologies Group, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)             9:16-bk-11912-PC
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Alion                                          Describe debtor's property that is subject to a lien                   $40,800.00                $40,800.00
       Creditor's Name                                Advance - Prior to 10/14/2016
       100 Burr Ridge Parkway
       Suite 202
       Willowbrook, IL 60527-0845
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   BAE                                            Describe debtor's property that is subject to a lien                 $275,000.00               $275,000.00
       Creditor's Name                                8/26/2016- Date amount was paid by
       65 River Road Bldg                             customer
       PTP-02 Receiving
       Hudson, NH 03051-5228
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 4
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 Debtor       Channel Technologies Group, LLC                                                          Case number (if know)     9:16-bk-11912-PC
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Blue Wolf Captial Fund,
 2.3                                                                                                                       $2,860,000.00    $14,993,218.00
       L.P.                                           Describe debtor's property that is subject to a lien
       Creditor's Name                                Various
       One Liberty Plaza
       52nd Floor
       New York, NY 10006
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Kayo Denshi Co                                 Describe debtor's property that is subject to a lien                     $21,179.60       $21,179.60
       Creditor's Name                                Advance - Prior to 10/14/2016
       5-19-13 Suneori-cho
       Tsurugashima Saitama
       350-2211
       Japan
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Leidos                                         Describe debtor's property that is subject to a lien                     $30,459.79       $30,459.79
       Creditor's Name                                Advance - Prior to 10/14/2016
       22635 Davis Drive, Suite
       160
       Sterling, VA 20164
       Creditor's mailing address                     Describe the lien




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 4
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 Debtor       Channel Technologies Group, LLC                                                          Case number (if know)     9:16-bk-11912-PC
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Phoenix Intl Holdings                          Describe debtor's property that is subject to a lien                     $14,998.00       $14,998.00
       Creditor's Name                                Advance - Prior to 10/14/2016
       9301 Largo Drive West
       Upper Marlboro, MD 20774
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Science Application
 2.7                                                                                                                           $69,000.02       $69,000.02
       International                                  Describe debtor's property that is subject to a lien
       Creditor's Name                                Advance - Prior to 10/14/2016
       1710 SAIC Drive
       Mc Lean, VA 22102
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 4
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 Debtor       Channel Technologies Group, LLC                                                          Case number (if know)    9:16-bk-11912-PC
              Name


 2.8    Turkana                                       Describe debtor's property that is subject to a lien                     $2,075.00              $2,075.00
        Creditor's Name                               Advance - Prior to 10/14/2016
        1315 116 Ave SW
        Calgary, AB T2W 2G4
        Canada
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.




                                                                                                                           $3,313,512.41
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Channel Technologies Group, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)           9:16-bk-11912-PC
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown           $0.00
           See Attached Schedule E/F: Part 1,                        Check all that apply.
           Tax                                                          Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $282,636.47          $268,014.49
           See Attached Schedule E/F: Part 1,                        Check all that apply.
           Employee                                                     Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 2
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 Debtor       Channel Technologies Group, LLC                                                         Case number (if known)            9:16-bk-11912-PC
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 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $993,795.72
           See Attached Schedule E/F: Part 2                                    Contingent
                                                                                Unliquidated
           Date(s) debt was incurred                                            Disputed
           Last 4 digits of account number                                   Basis for the claim:

                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       Ralph Phillips
           c/o Gary W. Nevers                                                                         Line     3.1
           Nevers, Palazzo, Packard, et al
                                                                                                             Not listed. Explain
           31248 Oak Crest Dr. Ste. 100
           Westlake Village, CA 91361


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                     282,636.47
 5b. Total claims from Part 2                                                                            5b.    +     $                     993,795.72

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      1,276,432.19




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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                                                                                                                              Schedule E/F: Part 1, Tax




                                                                                                                                                                                                                                                                                    Claim subject to offset?
                                                                                                                                                                                                                                                          Unliquidated
                                                                                                                                                                                                                                             Contingent


                                                                                                                                                                                                                                                                         Disputed
                                                                                                                                                                 Last 4 Digits of                                       Specify Code
                                                                                                                                                                    Account             Date Debt was Incurred,     Subsection of Priority                                                                                    Priority
                         Creditor Name                              Address1                      Address2                   City     State     Zip    Country      Number                  Basis for Claim           Unsecured Claim                                                                          Total Claim   Amount
CA State Board of Equalization                          PO Box 942879                                                 Sacramento      CA    94279                                   10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
CALIFORNIA FRANCHISE TAX BOARD                          PO BOX 942857                                                 SACRAMENTO      CA    94257-0511                              10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Employee Development Department                         Bankruptcy Group MIC 92E       PO Box 826880                  Sacramento      CA    94280                                   10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Franchise Tax Board                                     Attention Bankruptcy           PO Box 2952                    Sacramento      CA    95812-2952                              10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Santa Barbara Tax Collector                             Harry E. Hagen                 105 E. Anapamu St. Rm 109      Santa Barbara   CA    93102                                   10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Department of the Treasury - Internal Revenue Service   PO Box 7346                                                   Philadelphia    PA    19101-7346                              10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Department of the Treasury - Internal Revenue Service   2970 Market Street             Mall Stop 5-Q30. 133           Philadelphia    PA    19104-5016                              10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Massachusetts Dept of Revenue                           PO Box 9550                                                   Boston          MA 02114-9550                                 10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Chief Assessor of Littleton MA                          Katherine Miller               37 Shattuck Street, Room 206   Littleton       MA 01460                                      10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Massachusetts Dept. of Revenue                          PO Box 7010                                                   Boston          MA 02204                                      10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown
Deborah Richards, Tax Collector                         Room 207, 37 Shattuck Street   P.O. Box 1305                  Littleton       MA 01460                                      10/14/2016, prepetition taxes         507(a)(8)                         X                                                   Unknown      Unknown




                                                                                                                                       1 of 1
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                                                                      In re Channel Technologies Group, LLC
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                                                                            Schedule E/F: Part 1, Employee




                                                                                                                                                                                          Claim subject to offset?
                                                                                                                                                                Unliquidated
                                                                                                                                                   Contingent


                                                                                                                                                                               Disputed
                                                                                                                              Specify Code
                                                                          Last 4 Digits of      Date Debt was Incurred,   Subsection of Priority
       Creditor Name            Address    City   State   Zip    Country Account Number              Basis for Claim        Unsecured Claim                                                                          Total Claim    Priority Amount
Bradley J. Altavilla     Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,146.50         $2,850.00
Jose Alvarez             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,543.64         $1,543.64
Raul Arroyo              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $604.90           $604.90
James Bartek             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,315.70         $1,315.70
Felicitas Bautista       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $747.78           $747.78
Betty Bazan              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $497.44           $497.44
Linda L. Beard           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,522.65         $1,522.65
Michael Beard            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,071.29         $2,071.29
Nikolay Bebko            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,029.13         $1,029.13
Don Blackston            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $991.48           $991.48
Peter Bonsignori         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,854.92         $1,854.92
Fernando Braga           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,357.18         $1,357.18
Gus Bro                  Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $660.11           $660.11
Martin Broten            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,572.75         $2,572.75
Robert J. Brown          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,594.08         $1,594.08
Robert J. Broyles        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $640.72           $640.72
Diana Byrum              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,152.54         $1,152.54
Reyna M. Caballero       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $497.02           $497.02
Pablo Cansino            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,422.67         $1,422.67
Benjamin Casillas        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $889.96           $889.96
Robert Castellanos       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $337.06           $337.06
Gabriel Ruiz Cervantes   Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $766.88           $766.88
Andrew Chappell          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,609.58         $1,609.58
William A. Chesick       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,238.64         $1,238.64
William Cidzik           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $4,901.77         $2,850.00
Denise Cohen             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $828.53           $828.53
Kevin Cook               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,882.80         $1,882.80
David Cooper             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,400.42         $2,400.42
Graciela Cortez          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $591.27           $591.27
Leander Cubit            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $774.04           $774.04
Damon De La Pena         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,514.50         $2,850.00
Barbara A Dee            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,355.75         $2,355.75
Michael Desaulniers      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,375.40         $1,375.40
Jessica Dewett           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,710.00         $1,710.00
Cindy Hong Doan          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,128.83         $1,128.83
Trong V. Doan            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $851.51           $851.51
Hai Doan                 Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $522.46           $522.46
Brian Dolan              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,195.00         $2,850.00
Jacob Duhs               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $664.71           $664.71
Randall DuVal            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,006.47         $1,006.47
Francisco Elizarraraz    Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $752.58           $752.58
Marco T. Escobar         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $659.68           $659.68
Armando Espinosa         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $651.00           $651.00



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                                                                                                                                                                                        Claim subject to offset?
                                                                                                                                                              Unliquidated
                                                                                                                                                 Contingent


                                                                                                                                                                             Disputed
                                                                                                                            Specify Code
                                                                        Last 4 Digits of      Date Debt was Incurred,   Subsection of Priority
       Creditor Name          Address    City   State   Zip    Country Account Number              Basis for Claim        Unsecured Claim                                                                          Total Claim    Priority Amount
Edward Everson         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,140.63         $1,140.63
Robert D. Fader        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,063.84         $1,063.84
Brent Febo             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $4,340.00         $2,850.00
Miguel Ferreira        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,193.50         $1,193.50
Donald Fleming         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,763.06         $1,763.06
Jeremy Fletcher        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $378.75           $378.75
John Fletcher          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,963.85         $1,963.85
Cindy Flores           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $633.43           $633.43
Daniel Forseth         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,138.00         $2,850.00
Richard S. Franklin    Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,629.36         $1,629.36
David Fugatt           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,615.00         $2,615.00
Laura Furukawa         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $836.80           $836.80
Carolyn Gamberutti     Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,959.60         $2,850.00
Edward Garcia          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,302.34         $1,302.34
Lorna A. Garlejo       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $758.63           $758.63
Andres Gebhart         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,706.92         $1,706.92
Mary B. Gilbert        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,113.06         $1,113.06
Jeffrey Golden         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,810.42         $1,810.42
Rosanna Gonzalez       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $670.17           $670.17
Spencer P. Gooding     Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $834.23           $834.23
Curtis C. Gordon       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $820.67           $820.67
Jill Grant             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,810.42         $1,810.42
Christian Grelier      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,652.24         $2,652.24
Carol Grigor           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,255.20         $1,255.20
Jorge A. Guerrero      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $946.96           $946.96
Socorro Guerrero       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $814.18           $814.18
Erika Gutierrez        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $586.81           $586.81
Bao Hang               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $603.33           $603.33
John E. Hartman        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,298.90         $1,298.90
Michael Hartman        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,379.88         $1,379.88
Chase Henderson        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $753.95           $753.95
Ruben A. Hernandez     Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,281.20         $1,281.20
Anthony Hernandez      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $840.55           $840.55
Eric Horning           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,482.12         $2,850.00
Sergio De Hoyos        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,196.60         $2,196.60
Diana Hughes           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,398.45         $1,398.45
Gregory Hutchison      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,875.50         $2,850.00
Frank Xavier Inda      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $853.72           $853.72
Zack Inthanonh         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,034.66         $1,034.66
Gary Irwin             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,324.50         $2,324.50
Selene D. Jamison      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $882.76           $882.76
Gilbert Jimenez        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,171.80         $1,171.80
Tim Jock               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,719.60         $2,719.60



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                                                                            Schedule E/F: Part 1, Employee




                                                                                                                                                                                          Claim subject to offset?
                                                                                                                                                                Unliquidated
                                                                                                                                                   Contingent


                                                                                                                                                                               Disputed
                                                                                                                              Specify Code
                                                                          Last 4 Digits of      Date Debt was Incurred,   Subsection of Priority
      Creditor Name             Address    City   State   Zip    Country Account Number              Basis for Claim        Unsecured Claim                                                                          Total Claim    Priority Amount
Bruce Johnson            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,669.83         $1,669.83
Matthew Kay              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,810.42         $1,810.42
David P. Kendall         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,336.18         $1,336.18
Thomas King              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $648.52           $648.52
Randy Loren Kirby        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $713.50           $713.50
Arthur Krokus            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,472.32         $2,850.00
Ender Kuntsal            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,455.51         $2,850.00
Cindy Lam                Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $615.05           $615.05
Mellisa Lara             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $956.83           $956.83
Winston Lech             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $833.70           $833.70
John Longyear            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,133.66         $2,850.00
Raul Lopez               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $640.84           $640.84
Jose B. Lugo             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $805.26           $805.26
Ramon Macias             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $819.23           $819.23
David E. Marks           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,544.17         $1,544.17
John Mather              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,242.41         $2,850.00
Amedeo Mazzilli          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,301.50         $2,850.00
Joshua McDonough         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $586.34           $586.34
Chris McNeil             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,320.47         $1,320.47
Arsen Melconian          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $5,120.52         $2,850.00
Cecily D Mendibles       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,118.08         $1,118.08
Somboon Meuangmai        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $796.82           $796.82
Maria Miller             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,800.28         $1,800.28
Irene Milstead           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,215.54         $1,215.54
Santiago Monroy          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $778.55           $778.55
Consuelo Montes          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $661.49           $661.49
Charlene Montgomery      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,176.56         $1,176.56
Anthony Moua             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $958.43           $958.43
Sher Moua                Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $736.61           $736.61
Timothy Mudarri          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,425.40         $2,425.40
Aurora Murillo-Navarro   Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $768.60           $768.60
Kenneth Murray           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,770.25         $1,770.25
Chung Thi Nguyen         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $688.32           $688.32
Lois A Oakman            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $687.39           $687.39
Yasuhiro Ochi            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,978.22         $2,850.00
Alison Orr               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,548.92         $1,548.92
Maria G. Ortega          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,211.54         $1,211.54
Arturo Ortega            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,195.00         $2,850.00
Rosita B. Osias          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $528.18           $528.18
Victor Palato            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,021.76         $1,021.76
Kent Palmer              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $829.42           $829.42
Gideon Pascual           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $671.31           $671.31
Fulgencio Pascual Jr     Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $562.01           $562.01



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                                                                                                                                                                                        Claim subject to offset?
                                                                                                                                                              Unliquidated
                                                                                                                                                 Contingent


                                                                                                                                                                             Disputed
                                                                                                                            Specify Code
                                                                        Last 4 Digits of      Date Debt was Incurred,   Subsection of Priority
       Creditor Name          Address    City   State   Zip    Country Account Number              Basis for Claim        Unsecured Claim                                                                          Total Claim    Priority Amount
Brian G. Pazol         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $4,496.24         $2,850.00
Ryan Pellecchia        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,266.31         $2,266.31
Lorenza Perez          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $511.21           $511.21
Aristeo Perez          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $599.67           $599.67
Peter T. Perotte       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,383.35         $2,383.35
Robert Perotte         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,785.00         $1,785.00
Dawn Perrin            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,359.80         $1,359.80
Robert K. Pino         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,816.66         $2,816.66
Adam Poytress          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,554.44         $2,554.44
Heath Pray             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,255.20         $1,255.20
Barry J. Ramey         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,635.90         $1,635.90
Ernest M. Ramirez      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,278.42         $1,278.42
Jose Ramirez           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $525.90           $525.90
Harvey Reder           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,237.31         $1,237.31
David Renick           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,464.40         $1,464.40
Jason Renick           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,077.99         $2,077.99
Roman Reyes            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,359.80         $1,359.80
Jehu Reyna             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $673.15           $673.15
Barry J Robinson       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,929.50         $2,850.00
Edward Rodarte         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $680.11           $680.11
Guadalupe Rodriguez    Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $947.76           $947.76
Derinda E Rogers       Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,566.18         $1,566.18
Tucker Root            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,283.23         $1,283.23
Filiberto Ruiz         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,059.51         $1,059.51
Kelly Saikeo           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $670.82           $670.82
Teofila M San Juan     Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $700.02           $700.02
Victor Sanchez         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,136.36         $1,136.36
Daniel Santana         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $790.33           $790.33
Perla Santos           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $550.75           $550.75
Ryan Schaafsma         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,559.04         $1,559.04
Mark Secovich          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,211.39         $1,211.39
Mark T. Shaw           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $4,313.09         $2,850.00
Robert Sheppard        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $816.72           $816.72
Ismall Simentales      Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $553.26           $553.26
Nancy Solorzano        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,101.13         $1,101.13
James T. Soukup        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,242.25         $1,242.25
Jim Southaphanh        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $597.48           $597.48
Matthew Staska         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,277.35         $2,277.35
Curtis Stevens         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,355.35         $2,355.35
Richard C. Stockhaus   Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,523.07         $1,523.07
Kenny Stultz           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $954.41           $954.41
Glen Tamayo            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $794.96           $794.96
Clifford Taylor        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $925.35           $925.35



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                                                                              Schedule E/F: Part 1, Employee




                                                                                                                                                                                            Claim subject to offset?
                                                                                                                                                                  Unliquidated
                                                                                                                                                     Contingent


                                                                                                                                                                                 Disputed
                                                                                                                                Specify Code
                                                                            Last 4 Digits of      Date Debt was Incurred,   Subsection of Priority
      Creditor Name               Address    City   State   Zip    Country Account Number              Basis for Claim        Unsecured Claim                                                                          Total Claim    Priority Amount
John Taylor                Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,850.58         $1,850.58
Jeremy Torres              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,464.82         $1,464.82
Vicente Torres             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,014.62         $1,014.62
Michael J Tucker           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $813.23           $813.23
Michael Turpin             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $779.49           $779.49
John A Urquidi             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,275.63         $1,275.63
Constance Ursch            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,872.64         $2,850.00
Brandon Vang               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $717.97           $717.97
Michael E. Vaughn          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,589.24         $2,589.24
Karen Vaughn               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,745.41         $1,745.41
Peter Vera                 Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $920.90           $920.90
Merley A. Versola          Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $845.43           $845.43
Rosemary Vincent           Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $579.61           $579.61
William Voigt              Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $755.56           $755.56
Ryan Vongpanya             Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $628.44           $628.44
Karen A Wade               Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $402.19           $402.19
Geoffrey S. Warner         Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $2,933.84         $2,850.00
Wayne Webb                 Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $692.95           $692.95
Jane Weiler                Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $3,174.55         $2,850.00
Michael Wittman            Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,579.33         $1,579.33
Annie Yang                 Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                   $605.50           $605.50
Jennifer M. Zaludek        Address on File                                                     Employee wages and PTO             507(a)(4)                                                                                 $1,752.52         $1,752.52
                    Total:                                                                                                                                                                                               $282,636.47       $268,014.49




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                                                                                                         Channel Technologies Group, LLC
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                           Creditor Name                                         Address                             City             State     Zip      Country     Number        Date Debt was Incurred    Basis for Claim                                                                     Total Claim
ACF COMPONENTS & FASTENERS INC                       742 ARROW GRAND CIRCLE                                COVINA                    CA     91722                                        10/14/2016           Trade Claim                                                                               $100.00
ADVANCED CERAMIC TECHNOLOGY                          803 W. ANGUS AVE                                      ORANGE                    CA     92868                                   9/19/2016-9/26/2016       Trade Claim                                                                            $5,577.25
ADVANCED GEOENVIRONMENTAL, INC                       2300 KNOLL DR, UNIT L                                 VENTURA                   CA     93003                                  8/31/2016-10/14/2016       Trade Claim                                                                           $43,714.81
ADVANCED MEASUREMENT MACHINES, INC                   15840 WEST MONTE STREET STE B 109                     SYLMAR                    CA     91342                                         8/23/2016           Trade Claim                                                                            $1,376.70
AIR SCIENCE                                          PO Box 62296                                          FORT MYERS                FL     33907                                        10/14/2016           Trade Claim                                                                            $2,675.00
ALL WAYS CLEAN                                       PO Box 462                                            MORRO BAY                 CA     93443                                  9/27/2016-10/14/2016       Trade Claim                                                                            $5,196.00
ALL-CAL EQUIPMENT SERVICES INC.                      PO BOX 30035                                          STOCKTON                  CA     95213                                         8/29/2016           Trade Claim                                                                               $550.00
ALLIANCE FINISHING & MANUFACTURING                   1721 Ives Ave                                         OXNARD                    CA     93033                                   9/19/2016-9/30/2016       Trade Claim                                                                               $453.60
ALLIED ELECTRONICS, INC.                             40 W Cochran St suite #108                            SIMI VALLEY               CA     93065                                    9/2/2016-9/15/2016       Trade Claim                                                                               $753.53
ALLSTAR MAGNETICS, LLC                               6205 NORTHEAST 63RD STREET                            VANCOUVER                 WA 98661                                       9/19/2016-9/27/2016       Trade Claim                                                                               $919.04
AMAZON.COM                                           410 Terry Ave                                         NORTH SEATTLE             WA 98109                                            10/14/2016           Trade Claim                                                                                $41.46
ANDON ELECTRONICS CORPORATION                        4 Court Drive                                         LINCOLN                   RI     02865                                   8/29/2016-8/31/2016       Trade Claim                                                                            $7,295.00
ANTHEM BLUE CROSS                                    ASO Billing 21555 Oxnard St                           WOODLAND HILLS            CA     91367                                  9/14/2016-10/14/2016       Trade Claim                                                                           $74,774.02
APPLIED CERAMICS INC                                 5555 PLEASANTDALE RD                                  DORAVILLE                 GA     30340                                        10/11/2016           Trade Claim                                                                               $492.70
AQUA SYSTEMS, INC.                                   P.O. BOX 397                                          ARROYO GRANDE             CA     93421                                         8/31/2016           Trade Claim                                                                               $512.76
AQUA-FLO SUPPLY                                      30 SOUTH LA PATERA UNIT 10                            GOLETA                    CA     93117                                   9/12/2016-9/13/2016       Trade Claim                                                                               $102.33
Associated Vacuum Services                           1235 PUERTA DEL SON #300                              SAN CLEMENTE              CA     92673                                  9/19/2016-10/14/2016       Trade Claim                                                                            $5,123.77
ASTRO INDUSTRIES                                     4403 DAYTON XENIA RD.                                 BEAVERCREEK               OH     45432                                   8/12/2016-8/26/2016       Trade Claim                                                                           $16,123.59
AT&T                                                 PO BOX 5019                                           CAROL STREAM              IL     60197-5019                                    10/4/2016           Trade Claim                                                                               $537.26
BAGHOUSE SERVICES, INC.                              1731 POMONA ROAD                                      CORONA                    CA     92880                                   8/25/2016-9/21/2016       Trade Claim                                                                           $10,459.42
BAY ALARM COMPANY                                    2264 GOODYEAR AVE                                     VENTURA                   CA     93003                                         9/15/2016           Trade Claim                                                                            $1,901.19
BORRMANN METAL CENTER                                110 WEST OLIVE AVE                                    BURBANK                   CA     91502                                   8/24/2016-9/28/2016       Trade Claim                                                                               $425.87
BRENNTAG SPECIALTIES                                 1000 COOLIDGE STREET                                  SOUTH PLAINFIELD          NJ     07080                                   9/29/2016-9/30/2016       Trade Claim                                                                            $3,828.08
BRYLEN TECHNOLOGIES                                  275 SO. ORANGE AVE                                    SANTA BARBARA             CA     93117                                  8/19/2016-10/14/2016       Trade Claim                                                                            $8,141.30
BURKE INDUSTRIES                                     2250 South Tenth Street                               SAN JOSE                  CA     95112                                         9/23/2016           Trade Claim                                                                            $2,107.98
CAL COAST LOCKSMITHS                                 272 SOUTH ORANGE SUITE A                              GOLETA                    CA     93117                                   9/15/2016-9/26/2016       Trade Claim                                                                                $88.88
CAL WEST ENVIRONMENTAL                               2386 FIRST ST                                         LA VERNE                  CA     91750                                   9/14/2016-9/23/2016       Trade Claim                                                                           $15,116.66
CALIFORNIA METAL & SUPPLY, INC.                      10230 FREEMAN AVE                                     SANTA FE SPRINGS          CA     90670                                   9/26/2016-9/29/2016       Trade Claim                                                                            $2,043.44
CANON FINANCIAL SERVICES, INC.                       14904 COLLECTIONS CENTER DRIVE                        CHICAGO                   IL     60693-0149                                    9/12/2016           Trade Claim                                                                            $2,503.60
CCT PLASTICS                                         804 PORT AMERICA SUITE #B                             GRAPEVINE                 TX     76051                                         8/24/2016           Trade Claim                                                                               $560.40
CEC ELECTRICAL SERVICES                              P.O. Box 23245                                        SANTA BARBARA             CA     93121                                   8/26/2016-9/21/2016       Trade Claim                                                                            $9,956.30
CHANNEL CITY LUMBER                                  35 Aero Camino                                        GOLETA                    CA     93117                                   9/20/2016-9/23/2016       Trade Claim                                                                                $58.36
CINCINNATI TESTING LABORATORIES, INC.                1775 CARILLON BLVD                                    CINCINNATI                OH     45240                                         7/21/2016           Trade Claim                                                                            $1,920.00
CINTAS DOCUMENT MANAGEMENT                           PO BOX 630803                                         CINCINNATI                OH     45263                                   8/24/2016-9/21/2016       Trade Claim                                                                               $392.41
CIREXX INTERNATIONAL, INC.                           791 NUTTMAN STREET                                    SANTA CLARA               CA     95054                                    7/18/2016-8/5/2016       Trade Claim                                                                            $6,369.55
CNC MACHINING, INC                                   510 S. Fairview Avenue                                GOLETA                    CA     93117                                   9/8/2016-10/14/2016       Trade Claim                                                                           $25,488.75
COAST CARPET CLEANING                                                                                                                                                                     9/26/2016           Trade Claim                                                                            $1,500.00
COAST FLUID-AIRE                                     547 W. BETTERAVIA ROAD SUITE #G                       SANTA MARIA               CA    93455                                     8/30/2016-9/6/2016       Trade Claim                                                                            $9,624.84
COCA COLA BOTTLING COMPANY OF NORTHERN NEW ENGLAND   160 INDUSTRIAL AVE EAST                               LOWELL                    MA    01852                                          8/26/2016           Trade Claim                                                                               $157.20
COMCAST                                              PO BOX 1577                                           NEWARK                    NJ    07101-1577                                      9/1/2016           Trade Claim                                                                               $457.28
COMPASS PUBLICATIONS                                 1501 WILSON BLVD SUITE #1001                          ARLINGTON                 VA    22209                                          9/16/2016           Trade Claim                                                                            $6,743.48
CONTINENTAL DIAMOND TOOL CORP                        P O Box 126 1221 Hartzell Street                      NEW HAVEN                 IN    46774                                    9/15/2016-9/29/2016       Trade Claim                                                                            $1,211.50
COONER WIRE                                          9265 OWENSMOUTH                                       CHATSWORTH                CA    91311                                          9/16/2016           Trade Claim                                                                            $2,163.55
COOPER CROUSE-HINDS, LLC                             dba COOPER INTERCONNECT, INC. 750 WEST VENTURA BLVD   CAMARILLO                 CA    93010                                          8/18/2016           Trade Claim                                                                               $350.00
COR-BRIDGE, INC.                                     1642 N.OATMAN RD SUITE #E                             BULLHEAD CITY             AZ    86442                                   9/15/2016-10/14/2016       Trade Claim                                                                            $3,493.16
CREATIVE MATERIALS, INC.                             12 WILLOW RD                                          AYERS                     MA    01432                                         10/14/2016           Trade Claim                                                                               $100.00
CTS CORPORATION - BOLINGBROOK                        479 Quadrangle Dr. Suite-E                            BOLINGBROOK               IL    60440                                    8/24/2016-9/23/2016       Trade Claim                                                                           $11,999.90
CTS ELECTRONIC COMPONENTS, INC.                      4800 Alameda Blvd. NE                                 ALBUQUERQUE               NM    87113                                    8/16/2016-8/30/2016       Trade Claim                                                                            $3,500.00
DAY ASSOCIATES, INC.                                 1968 LAKEVIEW AVENUE                                  DRACUT                    MA    01826                                          9/12/2016           Trade Claim                                                                               $559.57
DIGI-KEY CORP 2021196                                701 BROOKS AVE. SOUTH P.O. BOX 677                    THIEF RIVER FALLS         MN    56701                                     9/8/2016-9/30/2016       Trade Claim                                                                               $523.38
DOCUPRODUCTS                                         2368 EASTMAN AVE SUITE 2                              VENTURA                   CA    93003                                    8/25/2016-9/29/2016       Trade Claim                                                                            $3,485.92
EIS, INC                                             1524 WEST 14TH STREET                                 TEMPE                     AZ    85281                                   9/23/2016-10/14/2016       Trade Claim                                                                               $673.38
ELITE METAL FINISHING                                540 SPECTRUM CIRCLE                                   OXNARD                    CA    93030                                    8/22/2016-9/14/2016       Trade Claim                                                                            $1,336.50
ELLSWORTH ADHESIVES                                  25 HUBBLE                                             IRVINE                    CA    92618                                   8/22/2016-10/14/2016       Trade Claim                                                                            $4,395.85
ENGINEERED SYNTACTIC SYSTEMS                         107 Frank Mossberg Drive                              ATTLEBORO                 MA    02703                                          9/13/2016           Trade Claim                                                                            $4,981.50
ENTERPRISE RIDESHARE                                 333 CITY BLVD WEST                                    ORANGE                    CA    92868                                    8/21/2016-9/21/2016       Trade Claim                                                                            $1,548.57
ENVIRONMENT ASSOCIATES INC                           9604 VARIEL AVENUE                                    CHATSWORTH                CA    91311                                          9/29/2016           Trade Claim                                                                            $2,600.00
FARO TECHNOLOGIES INC.                               125 TECHNOLOGY PARK                                   LAKE MARY                 FL    32746                                          9/12/2016           Trade Claim                                                                            $1,106.42
FEDEX                                                PO BOX 7221                                           PASADENA                  CA    91109                                   8/22/2016-10/14/2016       Trade Claim                                                                            $4,910.31
FEDEX FREIGHT                                        DEPT LA; PO BOX 21415                                 PASADENA                  CA    91185-1415                              10/6/2016-10/14/2016       Trade Claim                                                                            $2,632.79
FGL ENVIRONMENTAL                                    853 CORPORATION STREET                                SANTA PAULA               CA    93060                                          8/29/2016           Trade Claim                                                                               $766.80
FIRST CHOICE                                         18840 PARTHENIA STREET                                NORTHRIDGE                CA    91324                                    8/28/2016-10/3/2016       Trade Claim                                                                            $1,138.07




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                           Creditor Name                                                Address                              City          State     Zip          Country        Number        Date Debt was Incurred        Basis for Claim                                                                         Total Claim
FORUM US, INC. DBA SYNTECH                               831 Industrial Blvd                                      BRYAN                   TX     77803                                          8/31/2016-9/15/2016            Trade Claim                                                                              $10,472.00
FRC-ELECTRICAL INDUSTRIES                                705 CENTRAL AVE.                                         MURRAY HILLS            NJ     07974                                                9/15/2016                Trade Claim                                                                                  $988.00
FRONTIER                                                 PO BOX 740407                                            CINCINNATI              OH     45274-0407                                     9/28/2016-10/1/2016            Trade Claim                                                                                  $335.69
GASKET SPECIALTIES, INC                                  6200 HOLLIS ST.                                          EMERYVILLE              CA     94608                                                9/28/2016                Trade Claim                                                                                  $560.00
GIFFIN RENTAL CORP                                       285 RUTHERFORD AVE                                       GOLETA                  CA     93117                                                9/22/2016                Trade Claim                                                                                   $36.53
GLENAIR, INC.                                            1211 AIR WAY                                             GLENDALE                CA     91201                                          9/13/2016-9/15/2016            Trade Claim                                                                              $13,021.09
GLOBAL INDUSTRIAL EQUIPMENT                              2505 MILL CENTER PARKWAY SUITE 100                       BUFORD                  GA     30518                                          8/26/2016-10/4/2016            Trade Claim                                                                               $5,889.26
GOLETA VALLEY PAINT                                      325 RUTHERFORD ST SUITE B                                GOLETA                  CA     93117                                           9/9/2016-9/20/2016            Trade Claim                                                                                  $117.34
GRAINGER                                                 101 S Rice Rd                                            OXNARD                  CA     93030                                           8/3/2016-10/6/2016            Trade Claim                                                                              $14,650.89
GRAYLIFT                                                 1205 S. BLOSSER ROAD                                     SANTA MARIA             CA     93454                                           8/24/216-9/27/2016            Trade Claim                                                                               $3,450.24
GREENE RUBBER COMPANY INC                                20 CROSS STREET                                          WOBURN                  MA 02142                                               9/1/2016-9/26/2016            Trade Claim                                                                               $1,231.56
HANNA, CHERYL                                            4019B Ontono Dr                                          Santa Barbara           CA     93110                                                                  Employee Severance Claim                                                                         $6,849.60
HENKEL COPRORATION                                       20021 SUSANA ROAD                                        RANCHO DOMINGUEZ        CA     90221                                                 9/8/2016                Trade Claim                                                                               $1,261.92
HERAEUS PRECIOUS METALS NORTH AMERICA                    CONSHOHOCKEN LLC 24 UNION HILL ROAD                      WEST CONSHOHOCKEN       PA     19428                                                9/16/2016                Trade Claim                                                                              $25,158.60
HIRERIGHT, LLC                                           PO Box 847891                                            DALLAS                  TX     75284                                                9/30/2016                Trade Claim                                                                                   $36.75
IAR SYSTEMS INC.                                         1065 E. HILLDALE BLVD                                    FOSTER CITY             CA     94404                                                8/29/2016                Trade Claim                                                                               $1,518.00
IGO'S WELDING SUPPLY CO., INC.                           205 GROVE ST.                                            WATERTOWN               MA 02472                                                    9/30/2016                Trade Claim                                                                                   $20.69
IMARC                                                    21 WATER STREET                                          AMESBURY                MA 01913                                               8/1/2016-10/1/2016            Trade Claim                                                                                  $570.00
IMPULSE ADVANCED COMMUNIC                                6144 CALLE REAL SUITE 200                                GOLETA                  CA     93117                                                8/26/2016                Trade Claim                                                                               $1,925.89
INTERSTATE RIGGING, LLC                                  PO Box 186                                               GEORGETOWN              MA 01833                                                    8/24/2016                Trade Claim                                                                                  $500.00
J.R. BARTO HEATING AIR CONDITIONING & SHEET METAL, INC   P.O. BOX 2720                                            ORCUTT                  CA     93457                                                 9/9/2016                Trade Claim                                                                                  $664.83
JOY EQUIPMENT PROTECTION, INC                            5661 CARPINTERIA AVE                                     CARPINTERIA             CA     93013                                           8/8/2016-10/7/2016            Trade Claim                                                                               $4,784.92
KADCO CERAMICS                                           1175 CONROY PLACE                                        EASTON                  PA     18040                                          9/22/2016-9/30/2016            Trade Claim                                                                               $6,070.00
KATS ENTERPRISES, LLC                                    1501 South Loop 288 Suite 104 #300                       DENTON                  TX     76205                                                 9/1/2016                Trade Claim                                                                               $8,955.11
KAVINELLI & SON PLUMBING & HEATING, INC.                 15 BAYBERRY LANE                                         W. MILLBURY             MA 01527                                                     9/6/2016                Trade Claim                                                                               $3,200.00
KEMLON PRODUCTS                                          P. O. BOX 2189 1424 NORTH MAIN STREET                    PEARLAND                TX     77588                                                9/21/2016                Trade Claim                                                                               $1,319.14
KRAYDEN INC                                              18330 SUTTER BLVD                                        MORGAN HILL             CA     95037                                               10/14/2016                Trade Claim                                                                                  $199.18
LANDSBERG                                                PO BOX 101144                                            PASADENA                CA     91189                                          8/24/2016-9/20/2016            Trade Claim                                                                                  $380.30
LASER SERVICES                                           123 Oak Hill Rd.                                         WESTFORD                MA 01886                                             8/24/2016-10/14/2016            Trade Claim                                                                               $1,122.00
LAWRENCE E. PRICE                                        PRICE WATER & WELL SERVICE 133 E. DE LA GUERRA ST #187   SANTA BARBARA           CA     93102                                         6/26/2016-10/14/2016            Trade Claim                                                                               $9,512.00
LIGHTHOUSE PLACEMENT SERVICES                            PO BOX 783043                                            PHILADELPHIA            PA     19178                                               10/14/2016                Trade Claim                                                                                  $734.40
LINTEC OF AMERICA, INC.                                  4629 E. Chandler Blvd.                                   PHOENIX                 AZ     85048                                                 9/9/2016                Trade Claim                                                                               $1,020.00
M & J ENGINEERING                                        1 SO. Fairview Avenue                                    GOLETA                  CA     93117                                           8/18/2016-9/1/2016            Trade Claim                                                                               $7,180.80
MACARTNEY INC, NORTHEAST                                 575 Washington Street Unit 2                             PEMBROKE                MA 02359                                              9/15/2016-9/21/2016            Trade Claim                                                                                  $303.50
MACHINE EXPERIENCE & DESIGN                              2964 PHILLIP AVENUE                                      CLOVIS                  CA     93612                                         8/24/2016-10/14/2016            Trade Claim                                                                               $6,579.00
MANTRA COMPUTING, INC.                                   997 CHESTNUT STREET, UNIT 5                              NEWTON                  MA 02464                                             8/18/2016-10/13/2016            Trade Claim                                                                                  $452.98
MARBORG INDUSTRIES                                       PO BOX 4127                                              SANTA BARBARA           CA     93140                                          8/27/2016-9/30/2016            Trade Claim                                                                               $9,135.91
MCMASTER-CARR SUPPLY CO.                                 POST OFFICE BOX #7690                                    CHICAGO                 IL     60680                                         7/19/2016-10/14/2016            Trade Claim                                                                               $8,246.92
METALMART INTERNATIONAL, INC                             5828 Smithway Street                                     COMMERCE                CA     90040                                                9/22/2016                Trade Claim                                                                                  $344.50
METTLER TOLEDO                                           1900 POLARIS PARKWAY                                     COLUMBUS                OH     43240                                           9/6/2016-9/30/2016            Trade Claim                                                                               $7,467.85
MILLS MACHINE WORKS                                      30 Carver Street                                         LAWRENCE                MA 01843                                              9/1/2016-10/14/2016            Trade Claim                                                                              $26,220.00
MINITAB, INC                                             1829 PINE HALL RD                                        STATE COLLEGE           PA     16801                                                8/24/2016                Trade Claim                                                                               $3,225.00
MISSION UNIFORM SERVICE                                  725 E. MONTECITO                                         SANTA BARBARA           CA     93102                                          9/1/2016-10/13/2016            Trade Claim                                                                              $14,180.73
MOBILE MINI                                              7420 S. KYRENE ROAD, SUITE 101                           TEMPE                   AZ     85283                                          9/17/2016-9/22/2016            Trade Claim                                                                                  $391.29
MORGAN ADVANCED MATERIALS                                25 Madison Road                                          FAIRFIELD               NJ     07004                                          8/29/2016-8/30/2016            Trade Claim                                                                               $2,783.00
MORGAN TECHNICAL CERAMICS                                Vauxhall Industrial Estate LL14 6HY                      RAUBON WREXHAM                              United Kingdom                          9/19/2016                Trade Claim                                                                              $14,076.00
MOUSER ELECTRONICS                                       1810 GILLESPIE WAY SUITE 101                             EL CAJON                CA    92020                                                10/14/2016                Trade Claim                                                                                    $5.98
MSC INDUSTRIAL SUPPLY CO.                                11450 MARKON DRIVE                                       GARDEN GROVE            CA    92842                                          8/24/2016-10/14/2016            Trade Claim                                                                               $1,141.83
NATIONAL INSTRUMENTS                                     11500 N MOPAC EXPRESSWAY                                 AUSTIN                  TX    78759                                           8/25/2016-9/21/2016            Trade Claim                                                                               $5,735.49
NATIONAL WIRE & CABLE CORP                               136 SAN FERNANADO ROAD                                   LOS ANGELES             CA    90031                                                 9/16/2016                Trade Claim                                                                                  $844.67
NEW ENGLAND COPY SPECIALISTS                             PO BOX 4024                                              WOBURN                  MA    01888                                                10/14/2016                Trade Claim                                                                                  $684.15
NORTHERN TOOL + EQUIPMENT                                2800 SOUTHCROSS DR W                                     BURNSVILLE              MN    55337                                            8/2/2016-8/16/2016            Trade Claim                                                                               $1,372.63
NRL & ASSOCIATES, INC.                                   245 Log Canoe Circle Suite 1                             STEVENSVILLE            MD    21666                                          9/16/2016-10/14/2016            Trade Claim                                                                              $29,635.84
NSL ANALYTICAL SERVICES, INC                             4450 Cranwood Parkway                                    CLEVELAND               OH    44128                                                 9/13/2016                Trade Claim                                                                               $1,292.00
OFFICEMAX                                                263 SHUMAN BLVD                                          Naperville              IL    60563                                                 10/7/2016                Trade Claim                                                                                  $237.58
OMEGA ENGINEERING                                        ONE OMEGA DRIVE P.O. BOX 4047                            STAMFORD                CT    06907                                            8/30/2016-9/7/2016            Trade Claim                                                                                  $621.38
OMNI OXIDE CORP                                          7218 RELIABLE PARKWAY                                    CHICAGO                 IL    60686                                                 9/27/2016                Trade Claim                                                                                  $220.46
ONE WAY INDUSTRIAL SUPPLY INC                            302 PINE AVE                                             GOLETA                  CA    93017                                          9/15/2015-10/14/2016            Trade Claim                                                                               $5,356.30
ONLINESTORES COM                                         1000 Westinghouse Dr., Ste 1                             NEW STANTON             PA    15672                                                  8/3/2016                Trade Claim                                                                                   $15.76
PACIFICA SUITES HOTEL                                    5490 HOLLISTER AVENUE                                    SANTA BARBARA           CA    93111                                           9/17/2016-9/29/2016            Trade Claim                                                                               $1,499.96
PHILLIPS, RALPH                                          1290 Heritage Place                                      Westlake Village        CA    91362                                                                   Employee Severance Claim                                                                       $115,392.00
PHILLIPS, RALPH                                          1290 Heritage Place                                      Westlake Village        CA    91362                                                                        Litigation Claim                                    x                                     $100,000.00




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PPG AEROSPACE                                         24811 AVENUE ROCKEFELLER                          VALENCIA                CA     91355                                         8/15/2016               Trade Claim                                                                                   $246.11
PRAIRIE CERAMICS CORP                                 465 MCCORMICK ST                                  SAN LEANDRO             CA     94577                                  8/22/2016-10/14/2016           Trade Claim                                                                                $8,174.36
PRAXAIR                                               455 E. WOOLEY RD                                  OXNARD                  CA     93030                                   8/25/2016-9/30/2016           Trade Claim                                                                                $1,951.65
PRECISION SCREW MACHINE PROD                          30 GOOCH ST PO BOX 1944                           BIDDEFORD               ME     04005                                   8/24/2016-9/19/2016           Trade Claim                                                                               $42,057.40
PROTECTIVE WEATHER STRUCTURES, INC.                   5290 Orcutt Rd                                    SAN LUIS OBISPO         CA     93401                                         10/6/2016               Trade Claim                                                                                $2,750.00
PROTO LABS, INC.                                      5540 Pioneer Creek Dr                             MAPLE PLAIN             MN 55359                                             8/17/2016               Trade Claim                                                                                $7,865.16
QUALITY MAGNETICS CORPORATION                         18025 ADRIA MARU LANE                             CARSON                  CA     90746                                          9/2/2016               Trade Claim                                                                                $5,000.00
QUICKPARTS.COM, INC                                   301 Perimeter Center North Suite 400              ATLANTA                 GA     30346                                         9/12/2016               Trade Claim                                                                                   $790.00
R.S. HUGHES CO, INC.                                  10639 GLENOAKS BLVD                               PACOIMA                 CA     91331                                   8/12/2016-8/23/2016           Trade Claim                                                                                    $72.74
RACO INDUSTRIES LLC                                   5480 CREEK ROAD                                   CINCINNATI              OH     45242                                  8/15/2016-10/14/2016           Trade Claim                                                                                $3,303.70
RAMADA SANTA BARBARA                                  4770 CALLE REAL                                   SANTA BARBARA           CA     93110                                         9/23/2016               Trade Claim                                                                                   $573.60
RINCON ENGINEERING CORP.                              6325 CARPENTERIA AVENUE                           CARPINTERIA             CA     93013                                    9/8/2016-9/30/2016           Trade Claim                                                                                $1,362.00
RONCELLI PLASTICS, INC.                               330 W. DUARTE RD.                                 MONROVIA                CA     91016                                         9/28/2016               Trade Claim                                                                                   $780.00
S.L. FUSCO, INC.                                      1966 VIA ARADO                                    RANCHO DOMINQUEZ        CA     90220                                          9/9/2016               Trade Claim                                                                                   $369.36
SANSUM CLINIC OCC. MEDICINE                           101 S. PATTERSON AVE                              SANTA BARBARA           CA     93111                                         6/21/2016               Trade Claim                                                                                   $417.00
SANTA BARBARA IND. FINISHING                          873 S. KELLOGG AVE                                GOLETA                  CA     93117                                    9/1/2016-9/21/2016           Trade Claim                                                                                   $455.00
SCHMIDT, GERALD                                       72 Stonegate Rd                                   Chelmsford              MA 01824                                                               Employee Severance Claim                                                                         $8,631.20
SDS SPRAY DRYING SYSTEMS INC                          5320 Enterprise Street, STE J                     ELDESBURG               MD 21784                                            8/18/2016                Trade Claim                                                                                   $585.00
SEACON/BRANTNER & ASSOC.,INC.                         1700 GILLESPIE WAY                                EL CAJON                CA     92020                                   9/14/2016-9/19/2016           Trade Claim                                                                                $1,748.00
SEFAR INC                                             111 CALUMET STREET                                DEPEW                   NY     14043                                   8/30/2016-9/27/2016           Trade Claim                                                                                $1,179.36
SHAWSHEEN AIR SERVICES, INC                           248 MILL ROAD, BLDG 2, SUITE 5                    CHELMSFORD              MA 01824                                            8/24/2016                Trade Claim                                                                                $1,896.71
SOTHEAR JOHNNY SUY                                    773 TEMPLE AVE                                    VENTURA                 CA     93004                                        9/19/2016                Trade Claim                                                                                $2,017.00
SOUTHERN CALIFORNIA EDISON CO                         PO BOX 600                                        ROSEMEAD                CA     91771                                        10/4/2016                Trade Claim                                                                                $6,940.86
SOUTHWEST IMPREGLON SALES, INC.                       15014 Lee Road                                    HUMBLE                  TX     77396                                        10/14/2016               Trade Claim                                                                                   $945.00
SPARKLETTS                                            PO BOX 660579                                     DALLAS                  TX     75266-0579                                   10/9/2016                Trade Claim                                                                                    $90.38
SPECIALTY TOOL LTD.                                   108 AERO CAMINO                                   GOLETA                  CA     93117                                        9/28/2016                Trade Claim                                                                                $1,210.00
SPECTRUM CHEMICAL MFG CORP                            PO BOX 740894                                     LOS ANGELES             CA     90074                                        9/14/2016                Trade Claim                                                                                   $497.85
SPHERION                                              271 N. Fairview St, Ste. 104                      GOLETA                  CA     93117                                        10/14/2016               Trade Claim                                                                                $4,224.25
STAPLES BUSINESS ADVANTAGE                            9440 LURINE STREET                                CHATSWORTH              CA     91311                                   8/23/2016-10/7/2016           Trade Claim                                                                                $2,668.11
STEVEN L. RENICK                                      5594 SOMERSET DRIVE                               SANTA BARBARA           CA     93111                                        9/13/2016                Trade Claim                                                                                   $600.00
SUN CONFERENCE                                        1130 CACIQUE ST. #65                              SANTA BARBARA           CA     93103                                  10/1/2016-10/10/2016           Trade Claim                                                                                   $158.70
SUNSHINE METALS                                       2051 RAYMER AVE SUITE B                           FULLERTON               CA     92833                                        10/11/2016               Trade Claim                                                                                   $176.85
SURMET CORPORATION                                    31 B Street                                       BURLINGTON              MA 01803                                            10/14/2016               Trade Claim                                                                                $1,012.00
TEST EQUITY, INC.                                     6100 CONDOR DRIVE                                 MOORPARK                CA     93021                                        8/31/2016                Trade Claim                                                                                   $304.58
THE RYDING COMPANY                                    2659 TOWNSGATE ROAD SUITE 101                     WESTLAKE VILLAGE        CA     91361                                         3/7/2016                Trade Claim                                                                                   $350.00
TJ ASSEMBLIES                                         10349 Franklin Avenue                             FRANKLIN PARK           IL     60131                                        10/14/2016               Trade Claim                                                                                   $164.16
TRAMONTO CIRCUITS                                     14524 61st St. Court North                        STILLWATER              MN 55082                                       7/19/2016-9/16/2016           Trade Claim                                                                                   $328.49
TRS TECHNOLOIGES, INC                                 2820 East College Avenue Suite J                  STATE COLLEGE           PA     16801                                   8/30/2016-9/27/2016           Trade Claim                                                                                $5,655.00
TTE FILTERS, LLC                                      7426A TANNER PKWY                                 ARCADE                  NY     14009                                        8/26/2016                Trade Claim                                                                                $4,120.00
ULINE                                                 2200 S LAKESIDE DRIVE                             WAUKEGAN                IL     60085                                  8/22/2016-10/14/2016           Trade Claim                                                                                $5,052.82
UPS                                                   PO BOX 894820                                     LOS ANGELES             CA     90189                                  10/1/2016-10/14/2016           Trade Claim                                                                                $1,160.53
UTZ, LLC                                              4 PECKMAN ROAD                                    LITTLE FALLS            NJ     07424                                  9/14/2016-10/14/2016           Trade Claim                                                                                   $410.00
VAGA INDUSTRIES                                       2505 LOMA AVE.                                    SOUTH EL MONTE          CA     91733                                        9/29/2016                Trade Claim                                                                                $1,898.50
VALLEY SEAL COMPANY                                   6430 VARIEL AVENUE #106                           WOODLAND HILLS          CA     91367                                   9/8/2016-10/14/2016           Trade Claim                                                                                   $115.00
VALUE BASED SOLUTIONS                                 1651 CROSSINGS PARKWAYSUITES B&C                  WESTLAKE                OH     44145                                        9/15/2016                Trade Claim                                                                               $20,983.79
VERIZON WIRELESS                                      PO Box 660108                                     Dallas                  TX     75266-0108                              9/15/2016-10/6/2016           Trade Claim                                                                                $2,832.31
VOLT                                                  FILE #53102                                       LOS ANGELES             CA     90074                                  9/25/2016-10/14/2016           Trade Claim                                                                                $6,003.87
VWR INTERNATIONAL LLC                                 3745 BAYSHORE BLVD                                BRISBANE                CA     94005                                   9/20/2016-9/26/2016           Trade Claim                                                                                   $427.40
WATER STORE                                           5342 HOLLISTER AVE                                SANTA BARBARA           CA     93111                                  2/18/2016-10/14/2016           Trade Claim                                                                                $9,158.40
WHALING WEST PACKAGING CORP                           800 N. MITCHELL ROAD                              NEWBURY PARK            CA     91320                                  8/24/2016-10/14/2016           Trade Claim                                                                                   $941.10
WILLIAMS CONSULTING                                   4806 S. Strike It Rich Dr.                        GOLD CANYON             AZ     85118                                        10/14/2016               Trade Claim                                                                                $2,300.00
                                             Total:                                                                                                                                                                                                                                                   $993,795.72




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 Fill in this information to identify the case:

 Debtor name         Channel Technologies Group, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         9:16-bk-11912-PC
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                        See Attached Schedule G
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                                    Case 9:16-bk-11912-DS                                       Doc 113 InFiled              11/16/16 Entered 11/16/16 16:19:28
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                                                                                                                      Schedule G: Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                                    Description of Contract or Lease and Nature of Debtor's Interest; State the
           Contract Counterparty                        Address1                           Address2                          Address3                Address4                 City           State       Zip          Country          Remaining Term. List Contract Number of Any Government Contract.
Airmar Technology Corp.                        Attn: General Counsel    35 Meadowbrook Drive                                                                    Milford                 NH           03055                         Purchase Order (Fully Executed),dated May 3, 2016
Alcon                                          Attn: General Counsel    15803 Alton Parkway                                                                     Irvine                  CA           92618                         Customer Contract
Alcon                                          Attn: General Counsel    15803 Alton Parkway                                                                     Irvine                  CA           92618                         Purchase Order Amendment (Fully Executed), dated April 5, 2016
Alion                                          Attn: General Counsel    100 Burr Ridge Parkway Suite 202                                                        Burr Ridge              IL           60527-0845                    Customer Contract

Alion Science and Technology                   Attn: General Counsel    100 Burr Ridge Parkway Suite 202                                                        Burr Ridge              IL           60527-0845                    Purchase Order, Change Order No. 02 (Fully Executed), dated August 12, 2016
Alion Science and Technology                   Attn: General Counsel    100 Burr Ridge Parkway Suite 202                                                        Burr Ridge              IL           60527-0845                    Purchase Order (Fully Executed),dated April 20, 2015

Alion Science and Technology                   Attn: General Counsel    100 Burr Ridge Parkway Suite 202                                                        Burr Ridge              IL           60527-0845                    Purchase Order, Change Order No. 02 (Fully Executed), dated July 6, 2016
Alion Science and Technology                   Attn: General Counsel    100 Burr Ridge Parkway Suite 202                                                        Burr Ridge              IL           60527-0845                    Purchase Order (Fully Executed), dated August 13, 2014
Alstom Grid                                    Attn: General Counsel    23040 N. 11th Ave. Suite 100                                                            Phoenix                 AZ           85027                         Customer Contract
                                                                                                                                                                                                                                   Purchase Order and Amendment to Purchase Order Terms (Fully
Alstom Grid Inc.                               Attn: General Counsel    23040 N. 11th Ave. Suite 100                                                            Phoenix                 AZ           85027                         Executed),dated April 15, 2016; effective date April 15, 2016
Alstom Grid Inc.                               Attn: General Counsel    23040 N. 11th Ave. Suite 100                                                            Phoenix                 AZ           85027                         Purchase Order Modification (Unexecuted),dated January 11, 2016
                                                                                                                                                                                                                                   Letter Agreement for Rent Deferral under Lease Agreement (Fully
Alta Properties, Inc.                          Attn: General Counsel    P.O. Box 90326                                                                          Santa Barbara           CA           93190-0326                    Executed),dated December 9, 2015
Argot ST c/o Boeing                            Attn: General Counsel    90 Laurel View Drive                                                                    Smithfield              PA           15478                         Purchase Order (Unexecuted),dated December 8, 2015

BAE                                            Attn: General Counsel    Bldg. 2A Broad Oak Business Park                                                        Portsmouth, Hampshire                PO3 5PQ    United Kingdom     Customer Contract
BAE                                            Attn: General Counsel    65 River Road                                                                           Hudson                  NH           03051-5228                    Customer Contract
BAE                                            Attn: General Counsel    65 River Road                                                                           Hudson                  NH           03051-5228                    Customer Contract
BAE                                            Attn: General Counsel    65 River Road                                                                           Hudson                  NH           03051-5228                    Customer Contract
BAE                                            Attn: General Counsel    65 River Road                                                                           Hudson                  NH           03051-5228                    Customer Contract
BAE                                            Attn: General Counsel    65 River Road                                                                           Hudson                  NH           03051-5228                    Customer Contract
BAE Systems Integrated System Technologies
Limited                                        Attn: General Counsel    Warwick House, PO Box 87                  Farnborough Aerospace Centre                  Farnborough Hants                    GU14 6YU     United Kingdom   Purchase Order (Fully Executed),dated October 13, 2015
                                                                                                                                                                                                                                   Lease Renewal Acknowledgement for 543 Great Road (Fully Executed),dated
Beaverbrook, LLC                               Attn: Marc Foster        90 Carroll Street                                                                       Portland                ME           04102                         March 29, 2016
Benjamin Biomedical, Inc.                      Attn: General Counsel    539 Pasadena Avenue South                                                               St. Petersburg          FL           33707                         Purchase Order (Unexecuted),dated August 16, 2016
BW Piezo Holdings, LLC c/o Blue Wolf Capital   Attn: Adam Blumenthal;                                                                                                                                                              Letter Agreement for Rent Deferral under Lease Agreement (Fully
Partners LLC                                   Charles P. Miller        One Liberty Plaza, 52nd Floor                                                           New York                NY           10006                         Executed),dated December 9, 2015

Canon Financial Services, Inc.                 Attn: General Counsel    14904 Collections Center Drive                                                          Chicago                 IL           60693-0149                    Invoice for Equipment Leases (Unexecuted),dated September 12, 2016
                                                                                                                                                                                                                                   Standard Industrial/Commercial Multi-Tenant Lease - Net (Fully
Channel Technologies, Inc.                     Attn: General Counsel    839, 859/861, and 869/879 Ward Drive,                                                   Santa Barbara           CA           93111                         Executed),dated December 29, 2011

Chelsea Technologies Group Ltd                 Attn: General Counsel    55 Central Avenue                                                                       West Molesey, Surrey                 KT8 2QZ      United Kingdom   Purchase Order Amendment (Fully Executed),dated October 3, 2016
Chelsea Technologies Group Ltd                 Attn: General Counsel    55 Central Avenue                                                                       West Molesey, Surrey                 KT8 2QZ      United Kingdom   Purchase Order (Fully Executed),dated September 3, 2016

Continental Wirt Elecs Corp CW Industries      Attn: General Counsel    130 James Way                                                                           South Hampton           PA                                         Revised Purchase Order (Fully Executed),dated August 31, 2016
Diversified Power International LLC            Attn: General Counsel    414 Century Court                                                                       Piney Flats             TN           37686                         Purchase Order (Unexecuted),dated April 29, 2016
DocuProducts                                   Attn: General Counsel    2368 Eastman Ave, Suite 2                                                               Ventura                 CA           93003                         Equipment Order Form (Fully Executed),dated April 5, 2012
Dolores Mary Foster d/b/a Concord Financial                                                                                                                                                                                        Commercial Lease for 543 Great Road (Fully Executed),dated August 1, 1998;
Co.                                            Attn: General Counsel    P.O. Box 608                                                                            Lexington               MA           02420-0006                    effective date August 01, 1998
DPI                                            Attn: General Counsel    414 Century Court                                                                       Piney Flats             TN           37686                         Customer Contract
Dynaflow, Inc.                                 Attn: General Counsel    10621-J Iron Bridge Road                                                                Jessup                  MD           20794                         Purchase Order (Unexecuted),dated February 29, 2016
Eastman Kodak Company                          Attn: General Counsel    343 State Street                                                                        Rochester               NY           14650                         Purchase Order (Unexecuted),dated December 14, 2015
Eastman Kodak Company                          Attn: General Counsel    343 State Street                                                                        Rochester               NY           14650                         Purchase Order (Unexecuted),dated January 12, 2016
Eastman Kodak Company                          Attn: General Counsel    343 State Street                                                                        Rochester               NY           14650                         Purchase Order (Unexecuted),dated April 24, 2016
Eastman Kodak Company                          Attn: General Counsel    343 State Street                                                                        Rochester               NY           14650                         Purchase Order (Unexecuted),dated July 11, 2016
Electric Boat                                  Classified                                                                                                                                                                          Purchase Order
Electric Boat Corporation                      Classified                                                                                                                                                                          Purchase Order (Unexecuted),dated August 3, 2015
                                                                                                                                                                                                                                   Supplement Number 1 to Purchase Order (Unexecuted),dated August 24,
Electric Boat Corporation                      Classified                                                                                                                                                                          2015
                                                                                                                                                                                                                                   Supplement Number 2 to Purchase Order (Unexecuted),dated September 1,
Electric Boat Corporation                      Classified                                                                                                                                                                          2015
                                                                                                                                                                                                                                   Supplement Number 3 to Purchase Order (Unexecuted),dated November 3,
Electric Boat Corporation                      Classified                                                                                                                                                                          2015

Electric Boat Corporation                      Classified                                                                                                                                                                          Supplement Number 4 to Purchase Order (Unexecuted),dated April 5, 2016
                                                                                                                                                                                                                                   Extended Sublease of EOI Facilities pursuant to Commercial Lease Agreement
Electro Optical Industries, Inc.               Attn: General Counsel    839, 859/861, 869/879 Ward Drive                                                        Santa Barbara           CA           93111                         (Partially Executed), dated September 8, 2016
Falmouth Scientific, Inc.                      Attn: General Counsel    1400 Routh 28A                                                                          Cataumet                MA           02534                         Revised Purchase Order (Unexecuted),dated November 13, 2014
FarSounder, Inc.                               Attn: General Counsel    151 Lavan Street                                                                        Warwick                 RI           02888                         Purchase Order (Unexecuted),dated June 28, 2016
                                                                                                                                                                                                                                   Amendment C to Commercial Lease for 543 Great Road (Fully
FFD Trust fka Concord Financial Co.            Attn: General Counsel    PO Box 1544                                                                             Arlington               MA           02474                         Executed),dated April 18, 2011; effective date January 01, 2012
                                                                                                                                                                                                                                   Amendment to Purchase Order Terms (Fully Executed),dated April 15, 2016;
GE Energy Connections Business                 Attn: General Counsel    23040 N. 11th Ave. Suite 100                                                            Phoenix                 AZ           85027                         effective date April 15, 2016
Hach Company                                   Attn: General Counsel    PO Box 389                                                                              Loveland                CO           80539                         Purchase Order (Unexecuted),dated March 29, 2016




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                                                                                                                 Schedule G: Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                    Description of Contract or Lease and Nature of Debtor's Interest; State the
            Contract Counterparty                  Address1                            Address2                             Address3       Address4                 City        State       Zip          Country       Remaining Term. List Contract Number of Any Government Contract.
Honeywell                                 Attn: General Counsel     2000 East 95th Street/PO Box 419159                                               Kansas City             MO        64141-6159                 Customer Contract
Honeywell Federal Manufacturing &                                                                                                                                                                                  Purchase Order (Partially Executed),dated August 4, 2014; effective date July
Technologies, LLC                         Attn: General Counsel     2000 East 95th Street/PO Box 419159                                               Kansas City             MO        64141-6159                 31, 2014
Honeywell Federal Manufacturing &                                                                                                                                                                                  Purchase Order (Partially Executed),dated August 4, 2014; effective date July
Technologies, LLC                         Attn: General Counsel     2000 East 95th Street/PO Box 419159                                               Kansas City             MO        64141-6159                 31, 2014
Honeywell Federal Manufacturing &
Technologies, LLC                         Attn: General Counsel     PO Box 419159                                                                     Kansas City             MO        64141-6159                 Modification No. 4 of PO/Contract (Partially Executed),dated August 25, 2016
Honeywell Federal Manufacturing &                                                                                                                                                                                  Modification No. 2 of PO/Contract (Partially Executed),dated January 12,
Technologies, LLC                         Attn: General Counsel     PO Box 419159                                                                     Kansas City             MO        64141-6159                 2015
Honeywell Federal Manufacturing &
Technologies, LLC                         Attn: General Counsel     PO Box 419159                                                                     Kansas City             MO        64141-6159                 Modification No. 3 of PO/Contract (Fully Executed),dated September 4, 2015
Honeywell Federal Manufacturing &
Technologies, LLC                         Attn: General Counsel     PO Box 419159                                                                     Kansas City             MO        64141-6159                 Modification No. 1 of PO/Contract (Partially Executed),dated October 3, 2014
Honeywell Federal Manufacturing &
Technologies, LLC                         Attn: General Counsel     PO Box 419159                                                                     Kansas City             MO        64141-6159                 Modification No. 2 of PO/Contract (Fully Executed),dated September 4, 2015
Honeywell Federal Manufacturing &         Attn: Brian Dolan/Diana                                                                                                                                                  Purchase Order and Modification #1 (Partially Executed),dated February 11,
Technologies, LLC                         Byrum                     14520 Botts Road                                                                  Kansas City             MO        64147-1302                 2016; effective date February 11, 2016
Hydroid                                   Attn: General Counsel     6 Benjamin Nye Circle                                                             Pocasset                MA        02599                      Customer Contract
Hydroid                                   Attn: General Counsel     6 Benjamin Nye Circle                                                             Pocasset                MA        02599                      Customer Contract
Hydroid, Inc.                             Attn: General Counsel     6 Benjamin Nye Circle                                                             Pocasset                MA        02559                      Purchase Order (Fully Executed),dated March 17, 2016
Interocean Systems                        Attn: General Counsel     3738 Ruffin Road                                                                  San Diego               CA        92123                      Customer Contract
Kaiyo Denshi Co., Ltd.                    Attn: General Counsel     5-19-13 Suneori-Cho                                                               Tsurugashima, Saitama             350-2211     Japan         Purchase Order (Fully Executed),dated October 9, 2015
Kaiyo Denshi Co., Ltd.                    Attn: General Counsel     5-19-13 Suneori-Cho                                                               Tsurugashima, Saitama             350-2211     Japan         Purchase Order (Fully Executed),dated December 1, 2015
Kaiyo Denshi Co., Ltd.                    Attn: General Counsel     5-19-13 Suneori-Cho                                                               Tsurugashima, Saitama             350-2211     Japan         Purchase Order (Fully Executed),dated April 8, 2016
Kongsberg                                 Attn: General Counsel     1598 Kebet Way                                                                    Port Coquitlam          BC        V3C 5M5      Canada        Customer Contract

L-3 Communications MariPro                Attn: General Counsel     1440 Cook Place                                                                   Goleta                  CA        93117                      Purchase Order, and Modifications 1-5 (Unexecuted),dated June 23, 2015
Leidos                                    Attn: General Counsel     301 Laboratory Road PO Box 2501                                                   Oak Ridge               TN        37831                      Customer Contract
Leidos                                    Attn: General Counsel     26279 Twelve Trees Lane                                                           Poulsbo                 WA        98370                      Customer Contract

                                                                                                                                                                                                                   Modification #7 to Basic Ordering Agreement (Fully Executed),dated October
Leidos, Inc.                              Attn: General Counsel     22635 Davis Drive, Suite 160                                                      Sterling                VA        20164                      23, 2013; effective date September 28, 2013
                                                                                                                                                                                                                   Modification #11 to Basic Ordering Agreement (Partially Executed),dated
Leidos, Inc.                              Attn: General Counsel     22635 Davis Drive, Suite 160                                                      Sterling                VA        20164                      December 10, 2015
Leidos, Oak Ridge, Tenn                   Attn: General Counsel     301 Laboratory Road PO Box 2501                                                   Oak Ridge               TN        37831                      Customer Contract
Lockheed Martin Corporation               Attn: General Counsel     MST-Syracuse PO Box 4840                                                          Liverpool               NY        13221-4840                 Purchase Order (Partially Executed),dated May 11, 2016
Lockheed Martin Sippican, Inc.            Attn: General Counsel     Seven Barnabas Road                                                               Marion                  MA        02738-1499                 Purchase Order (Fully Executed),dated March 10, 2016
Metsys                                    Attn: General Counsel     Room 1504 Guotoucaifu Plaza 9 Guangan St   Fengtai District                       Beijing                                        China         Customer Contract
Namiki                                    Attn: General Counsel     60/29, M4, T. Banklang A Muang                                                    Lamphun                           51000        Thailand      Customer Contract
Naval Surface Warfare Center Crane Div    Classified                                                                                                                                                               Contract ID: N00164-15-D-S009
Naval Surface Warfare Center Crane Div    Classified                                                                                                                                                               Contract ID: N00164-15-D-S009
Naval Surface Warfare Center Crane Div    Classified                                                                                                                                                               Contract ID: N66604-16-P-1116
Naval Surface Warfare Center Crane Div.   Classified                                                                                                                                                               Contract ID: N00164-15-D-GP71
Naval Surface Warfare Center Crane Div.   Classified                                                                                                                                                               Contract ID: N00164-15-D-GP71
Naval Undersea Warfare Center             Classified                                                                                                                                                               Contract ID: N66604-14-D-0143
Naval Undersea Warfare Center             Classified                                                                                                                                                               Contract ID: N66604-14-D-0040
Naval Undersea Warfare Center             Classified                                                                                                                                                               Contract ID: N66604-14-D-0143
Naval Undersea Warfare Center             Classified                                                                                                                                                               Contract ID: N66604-09-D-1040
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0008
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0009
Navy                                      Classified                                                                                                                                                               Contract ID: 13G5232 Order 0010
Newport News                              Attn: General Counsel     4101 Washington Ave                                                               Newport News            VA        23607                      Customer Contract
Northrop Grumman                          Attn: General Counsel     895 Oceanic Drive MS 9225                                                         Annapolis               MD        21409                      Customer Contract
Northrop Grumman                          Attn: General Counsel     895 Oceanic Drive MS 9225                                                         Annapolis               MD        21409                      Customer Contract

Northrop Grumman Systems Corporation      Attn: General Counsel     895 Oceanic Drive                                                                 Annapolis               MD        21401-6104                 Purchase Order (Unexecuted),dated October 1, 2013
                                                                                                                                                                                                                   Purchase Order, and Change Notices 1-7 (Partially Executed),dated May 16,
Northrop Grumman Systems Corporation      Attn: General Counsel     895 Oceanic Drive                                                                 Annapolis               MD        21401-6104                 2015

Northrop Grumman Systems Corporation      Attn: General Counsel     895 Oceanic Drive                                                                 Annapolis               MD        21401-6104                 Change Notice 8 to Purchase Order (Fully Executed),dated September 6, 2016




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                                                                                                                                                                                        Description of Contract or Lease and Nature of Debtor's Interest; State the
          Contract Counterparty                 Address1                           Address2           Address3       Address4               City        State       Zip      Country      Remaining Term. List Contract Number of Any Government Contract.

Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             Purchase Order, and Change Notices 1-3 (Fully Executed),dated June 2, 2015

Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             Purchase Order, and Change Notices 1-2 (Fully Executed),dated June 2, 2015

Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             Purchase Order, and Change Notice 1 (Fully Executed),dated August 29, 2016

Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             Purchase Order (Unexecuted),dated September 6, 2016
                                                                                                                                                                                       Purchase Order, and Change Notices 1-24 (Fully Executed),dated January 30,
Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             2014
                                                                                                                                                                                       Amendments Number 1 and 2 to Purchase Order (Fully Executed),dated
Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             December 6, 2013

Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             Change Notice 3 to Purchase Order (Unexecuted),dated April 12, 2016

Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             Change Notice 4 to Purchase Order (Fully Executed),dated August 16, 2016
                                                                                                                                                                                       Change Notice 5 to Purchase Order (Fully Executed),dated September 16,
Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             2016
                                                                                                                                                                                       Purchase Order, and Change Notices 1-15 (Fully Executed),dated January 30,
Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive                                                Annapolis          MD           21401-6104             2014
                                                                                                                                                                                       Project Release for Option Array Assembly (Unexecuted),dated November 5,
Northrop Grumman Systems Corporation   Attn: General Counsel   895 Oceanic Drive MS 9225                                        Annapolis          MD           21409                  2015
NRL                                    Classified
NSWC, Carderock                        Classified
NSWC, Crane                            Classified
NSWC, Crane                            Classified
NSWC, Crane                            Classified
NUWC-Newport                           Classified
NUWC-Newport                           Classified
NUWC-Newport                           Classified
NUWC-Newport                           Classified
NUWC-Newport                           Classified
NUWC-Newport                           Classified
NWSS                                   Classified
Phoenix International                  Attn: General Counsel   9301 Largo Drive West                                            Largo              MD           20774                  Customer Contract
Progeny                                Attn: General Counsel   9500 Innovation Drive                                            Manassas           VA           20110                  Customer Contract

                                                                                                                                                                                       Subcontract Agreement and Modifications #1-11 (Fully Executed),dated
Progeny Systems Corporation            Attn: General Counsel   9500 Innovation Drive                                            Manassas           VA           20110                  November 10, 2014; effective date November 10, 2014
                                                                                                                                                                                       Subcontract Modification #12 (Fully Executed),dated August 22, 2016;
Progeny Systems Corporation            Attn: General Counsel   9500 Innovation Drive                                            Manassas           VA           20110                  effective date August 22, 2016
Raytheon                               Attn: General Counsel   IDS/SCS 1847 West Main Road                                      Portsmouth         RI           02871                  Customer Contract
Raytheon                               Attn: General Counsel   610 Dowell St. Bldg. 894                                         Keyport            WA           98345                  Customer Contract
Raytheon                               Attn: General Counsel   610 Dowell St. Bldg. 894                                         Keyport            WA           98345                  Customer Contract

Raytheon Company                       Attn: General Counsel   610 Dowell St. Bldg. 894                                         Keyport            WA           98345                  Modification No. 4 to Purchase Order (Fully Executed),dated January 25, 2016
                                                                                                                                                                                       Modification No. 5 to Purchase Order (Fully Executed),dated February 18,
Raytheon Company                       Attn: General Counsel   610 Dowell St. Bldg. 894                                         Keyport            WA           98345                  2015

Raytheon Company                       Attn: General Counsel   610 Dowell St. Bldg. 894                                         Keyport            WA           98345                  Modification No. 6 to Purchase Order (Fully Executed),dated May 5, 2016

Raytheon Company                       Attn: General Counsel   610 Dowell St. Bldg. 894                                         Keyport            WA           98345                  Modification No. 7 to Purchase Order (Fully Executed), dated July 11, 2015

Raytheon Company                       Attn: General Counsel   1001 Boston Post Road                                            Marlborough        MA           01752-3770             Not to Exceed Letter Subcontract (Fully Executed),dated July 17, 2015
                                                                                                                                                                                       Change Order #1 to Letter Subcontract; Funding Reallocation (Partially
Raytheon Company                       Attn: General Counsel   1001 Boston Post Road                                            Marlborough        MA           01752-3770             Executed),dated November 3, 2015
                                                                                                                                                                                       Change Order #2 to Letter Subcontract (Fully Executed),dated December 11,
Raytheon Company                       Attn: General Counsel   870 Winter Street                                                Waltham            MA           02451                  2015
                                                                                                                                                                                       Change Order #3 to Letter Subcontract (Fully Executed),dated January 12,
Raytheon Company                       Attn: General Counsel   870 Winter Street                                                Waltham            MA           02451                  2016
                                                                                                                                                                                       Change Order #4 to Letter Subcontract (Fully Executed),dated February 19,
Raytheon Company                       Attn: General Counsel   870 Winter Street                                                Waltham            MA           02451                  2016
                                                                                                                                                                                       Change Order #5 to Letter Subcontract (Fully Executed),dated February 19,
Raytheon Company                       Attn: General Counsel   870 Winter Street                                                Waltham            MA           02451                  2016

Raytheon Company                       Attn: General Counsel   870 Winter Street                                                Waltham            MA           02451                  Change Order #6 to Letter Subcontract (Fully Executed),dated March 4, 2016

Raytheon Company                       Attn: General Counsel   870 Winter Street                                                Waltham            MA           02451                  Change Order #7 to Letter Subcontract (Fully Executed),dated April 5, 2016




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                                                                                                                              re Channel Technologies Group, LLC
                                                                                                                                                                                                                            Desc
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                                                                                                                                     Case No. 16-11912
                                                                                                                    Schedule G: Executory Contracts and Unexpired Leases




                                                                                                                                                                                                                 Description of Contract or Lease and Nature of Debtor's Interest; State the
           Contract Counterparty                         Address1                          Address2                         Address3       Address4               City        State       Zip         Country      Remaining Term. List Contract Number of Any Government Contract.

Raytheon Company                               Attn: General Counsel   870 Winter Street                                                              Waltham            MA           02451                     Change Order #8 to Letter Subcontract (Fully Executed),dated April 18, 2016

Raytheon Company                               Attn: General Counsel   870 Winter Street                                                              Waltham            MA           02451                     Change Order #9 to Letter Subcontract (Fully Executed),dated May 6, 2016

Raytheon Company                               Attn: General Counsel   870 Winter Street                                                              Waltham            MA           02451                     Change Order #10 to Letter Subcontract (Fully Executed),dated June 2, 2016
                                                                                                                                                                                                                Change Order #11 to Letter Subcontract (Fully Executed),dated August 19,
Raytheon Company                               Attn: General Counsel   870 Winter Street                                                              Waltham            MA           02451                     2016

Raytheon Company                               Attn: General Counsel   870 Winter Street                                                              Waltham            MA           02451                     Addendum to the Standard Terms and Conditions of Purchase (Unexecuted)
                                                                                                                                                                                                                Standard Industrial/Commercial Multi-Tenant Lease - Net (Fully
Reaction 35, LLC                               Attn: General Counsel   861 Ward Drive                                                                 Santa Barbara      CA           93111                     Executed),dated October 17, 2013
SAAB AB                                        Attn: General Counsel   Isbergs gata 2, SE-211 19                                                      Malmo                           SE-211 19   Sweden        Customer Contract
SAIC                                           Attn: General Counsel   1710 SAIC Drive                                                                Mclean             VA           22102                     Customer Contract

SAIC McClean Tower                             Attn: General Counsel   1710 SAIC Drive                                                                Mclean             VA           22102                     Modification No. 2 of Purchase Order (Fully Executed), dated August 24, 2016
SAIC Oak Ridge                                 Attn: General Counsel   151 Lafayette Drive PO Box 2501                                                Oak Ridge          TN           37831                     Purchase Order (Fully Executed),dated March 11, 2016

Science Applications International Corporation Attn: General Counsel   1710 SAIC Drive                                                                Mclean             VA           22102                     Modification No. 1 of Purchase Order (Fully Executed),dated June 6, 2016
                                                                                                                                                                                                                Subcontract, Basic Ordering Agreement and Modifications #1-11
Science Applications International Corporation Attn: Peter T. Pugh     26279 Twelve Trees Lane                                                        Poulsbo            WA           98370                     (Unexecuted); effective date March 21, 2011
                                                                                                                                                                                                                Basic Ordering Agreement, Modification #1 (Fully Executed),dated August 26,
Science Applications International Corporation Attn: Vickie Robinson   4035 Hancock St.                                                               San Diego          CA           92110                     2011; effective date August 26, 2011
Sparton                                        Attn: General Counsel   5612 Johnson Lake Road                                                         DeLeon Springs     FL           32130
Syquest, Inc.                                  Attn: Doug Flowers      222 Metro Center Blvd.                                                         Warwick            RI           02886                     Purchase Order (Fully Executed),dated May 1, 2014
Syquest, Inc.                                  Attn: Doug Flowers      30 Kenney Drive, Unit 1                                                        Cranston           RI           02920                     Purchase Order (Fully Executed),dated June 17, 2016
Syquest, Inc.                                  Attn: Robert Tarini     222 Metro Center Blvd.                                                         Warwick            RI           02886                     Teaming Agreement (Fully Executed)
Syquest, Inc.                                  Attn: Robert Tarini     222 Metro Center Blvd.                                                         Warwick            RI           02886                     Teaming Agreement (Unexecuted)
                                                                                                                                                                                                                Purchase Contract (Fully Executed),dated August 18, 2016; effective date
The Boeing Company                             Attn: M. Lawton         5301 Bolsa Avenue                                                              Huntington Beach   CA           92647                     August 18, 2016
Toyo                                           Attn: General Counsel   1-6 Yaesu 1-Chome Chuo-ku                                                      Tokyo                           103-8284    Japan         Customer Contract
Turkana, Inc.                                  Attn: Tim Davies        1315 116 Ave SW                                                                Calgary            AB           T2W 2G4     Canada        Purchase Order (Fully Executed),dated September 11, 2015
UCSD                                           Attn: General Counsel   8635 Kennel Way Ritter Hall, Rm 200B                                           La Jolla           CA           92037                     Customer Contract
UCSD                                           Attn: General Counsel   8635 Kennel Way Ritter Hall, Rm 200B                                           La Jolla           CA           92037                     Customer Contract
UCSD                                           Attn: General Counsel   8635 Kennel Way Ritter Hall, Rm 200B                                           La Jolla           CA           92037                     Customer Contract
UCSD                                           Attn: General Counsel   8635 Kennel Way Ritter Hall, Rm 200B                                           La Jolla           CA           92037                     Customer Contract
Ultra Electronics                              Attn: General Counsel   115 Bay State Drive MS 17-5                                                    Braintree          MA           02184                     Customer Contract
Univ of Texas at Austin                        Attn: General Counsel   APL 10000 Burnet Road                                                          Austin             TX           78758                     Customer Contract
University System of New Hampshire             Attn: General Counsel   EOS CCOM BSC Morse Hall                  8 College Road                        Durham             NH           03824                     Purchase Order (Fully Executed),dated March 4, 2016
University System of New Hampshire             Attn: General Counsel   EOS CCOM BSC Morse Hall                  8 College Road                        Durham             NH           03824                     Purchase Order (Fully Executed),dated June 13, 2016
University System of New Hampshire             Attn: General Counsel   EOS CCOM BSC Morse Hall                  8 College Road                        Durham             NH           03824                     Purchase Order (Fully Executed),dated May 13, 2016
Vemco                                          Attn: General Counsel   20 Angus Morton Drive                                                          Bedford            NS           B4B 0L9     Canada        Customer Contract
Vemco                                          Attn: General Counsel   20 Angus Morton Drive                                                          Bedford            NS           B4B 0L9     Canada        Customer Contract
Wartsila                                       Attn: General Counsel   Neufeldstrasse 10                                                              Kiel                            24118       Germany       Customer Contract




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 Fill in this information to identify the case:

 Debtor name         Channel Technologies Group, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)         9:16-bk-11912-PC
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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